        Case 2:14-cv-04020-DC-LGD Document 285 Filed 06/20/24 Page 1 of 1 PageID #: 3742
 VAO 187(Rev. 7/87)Exhibit and Witness List



                                                 United States District Court
                             EASTERN                                                  DISTRICT OF                                      NEW YORK




                                                                                                                 COURT EXHIBIT
                                Ajay Bahl
                                       V.

          New York Institute of Technology                                                                            Case Number: 14-cv-4020-DC-LGD


presiding judge                                                     PLAINTIFF'S ATTORNEY                                     DEFENDANT'S ATTORNEY

                  Denny Chin, USCJ                                  Nathaniel Charny & Megan Goddard                            Douglas Catalano & Stefanie Toren
TRIAL DATE(S)                                                       COURT REPORTER                                           COURTROOM DEPUTY
                   June 10-14. 2024                                        Cruz, Sesta, & Danelezyk et.al.                                     Victor Joe
 PLF.      DBF.        DATE
                                    MARKED          ADMITTED                                                   DESCRIPTION OF COURT EXHIBITS
  NO.       NO.     OFFERED


                      6/14               1                          Jurors' Note received 10:50 AM

                      6/14              2                           Jurors' Note received 11:45 AM

                      6/14              3                           Court's Note to Jurors - sent 12:33 PM

                      6/14              4                           Jurors' Note received 1:35 PM

                      6/14              5                           Jurors' Note received 3:07 PM

                      6/14              6                           Verdict Sheet signed by Foreperson received 3:20 PM
                      6/14              7                           Jury Charge
                      6/14               A                          Parties Agreed Upon Exhibit List




'Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                      Page
